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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF ALABAMA
                               SOUTHERN DIVISION

CARLOS HINOJOSA FABIAN,                    )
                                           )
       Plaintiff,                          )
                                           )
vs.                                        ) CIVIL CASE NO. 1:19-cv-283-ECM
                                           )
CITY OF DOTHAN and TOM DAVIS,              )
                                           )
       Defendant.                          )

                                         ORDER

       Upon consideration of the parties’ Joint Stipulation of Dismissal (Doc. 12) filed on

July 16, 2019, which comports with FED. R. CIV. P. 41(a)(1)(A)(ii), this action has been

dismissed with prejudice by operation of Rule 41, on the terms agreed to and set out by the

parties.

       The Clerk of the Court is DIRECTED to close this case.

       DONE this 22nd day of July, 2019.


                                  /s/ Emily C. Marks
                                  EMILY C. MARKS
                                  CHIEF UNITED STATES DISTRICT JUDGE
